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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.              §
Plaintiffs                                      §
                                                §
vs.                                             §      Case No. SA-21-CV-00844-XR
                                                §
GREGORY W. ABBOTT, et al.,                      §
Defendants                                      §


               PROPOSED SECOND AMENDED SCHEDULING ORDER

       The disposition of this case will be controlled by the following amended order. If a
deadline set in this order falls on a weekend or a holiday, the effective day will be the next
business day.

       EXPERTS

       All parties shall file all designations of rebuttal experts and serve on all parties the
material required by Fed. R. of Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not
already served, within fifteen (15) days of receipt of the report of the opposing expert.

        An objection to the reliability of an expert’s proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony, within eleven (11) days from the receipt of the written
report of the expert’s proposed testimony, or within eleven (11) days from obtaining a copy of
the expert’s deposition, if a deposition is taken, whichever is later.

       The deadline for filing supplemental reports required under Fed. R. Civ. P. 26(e) is May
5, 2023.

       COMPLETION OF DISCOVERY

       The deadline for the completion of all discovery is April 28, 2023.
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        PRETRIAL MOTIONS

        No motion (other than a motion in limine) may be filed after this date except for good
cause. The deadline to file motions (including dispositive motions and Daubert motions) is May
12, 2023. This deadline is also applicable to the filing of any summary judgment motion under
Fed. R. Civ. P. 56 and any defense of qualified immunity. Leave of court is automatically given
to file motions, responses, and replies not to exceed 30 pages in length. Fed. R. Civ. P. 6(d) does
not apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.

        WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

        The deadline for filing Rule 26(a)(3) disclosures is July 25, 2023.

       The deadline for filing objections under Rule 26(a)(3) is August 8, 2023. Any objections
not made will be deemed waived.

        JOINT PRETRIAL ORDER AND MOTION IN LIMINE

        The deadline to file a Final Joint Pretrial Order and any motion in limine is August 22,
2023.

       All attorneys are responsible for preparing the Final Joint Pretrial Order, which must
contain the following:

        (1) a short statement identifying the Court’s jurisdiction. If there is an unresolved
        jurisdictional question, state it;

        (2) a brief statement of the case, one that the judge could read to the jury panel for an
        introduction to the facts and parties;

        (3) a summary of the remaining claims and defenses of each party;

        (4) a list of facts all parties have reached agreement upon;

        (5) a list of contested issues of fact;

        (6) a list of the legal propositions that are not in dispute;

        (7) a list of contested issues of law;

        (8) a list of all exhibits expected to be offered. Counsel will make all exhibits available
        for examination by opposing counsel. All documentary exhibits must be exchanged
        before the final pre-trial conference. The exhibit list should clearly reflect whether a
        particular exhibit is objected to or whether there are no objections to the exhibit;
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       (9) a list of the names and addresses of witnesses who may be called with a brief
       statement of the nature of their testimony;

       (10) an estimate of the length of trial;

       (11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b)
       a proposed charge, including instructions, definitions, and special interrogatories, with
       authority;

       (12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed
       conclusions of law, with authority;

       (13) the signatures of all attorneys; and

       (14) a place for the date and the signature of the presiding judge.

       FINAL PRETRIAL CONFERENCE

       The Final Pretrial Conference shall be held on Thursday, August 31, 2023 at 10:30 a.m.

        Motions in limine, if any, will be heard on this date. Counsel should confer prior to this
hearing on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending
to use a demonstrative exhibit should provide the same to opposing counsel at least 3 days prior
to the Final Pretrial conference so that if any objections or issues are raised about the
demonstrative exhibit, they can be addressed at the final pretrial conference.
        TRIAL

       The Bench Trial Date is Monday, September 11, 2023 at 9:00 a.m.

       Due to several fall holidays and a preexisting scheduling conflict, trial will recess for the
following dates: September 15, 18, and 25–29.

       It is so ORDERED.|

       SIGNED this 30th day of March, 2023.




                                                  XAVIER RODRIGUEZ
                                                  UNITED STATES DISTRICT JUDGE
